            Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 1 of 23




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ANTHONY J. ALIUCCI,                              )
                                                 )
                Petitioner,                      )
                                                 )
       v.                                        )          Civil No. 10-1297
                                                 )          Criminal No. 08-69
UNITED STATES OF AMERICA,                        )
                                                 )
                Respondent.                      )

                                 MEMORANDUM OPINION

I.     INTRODUCTION

       This matter is before the Court on a Motion to Vacate, Set Aside or Correct Sentence

under 28 U.S.C. § 2255 filed by pro se Petitioner Anthony J. Aliucci.           (Docket No. 57).

Petitioner claims that his sentence should be vacated based on the Supreme Court‟s decision in

Skilling v. United States, 130 S.Ct. 2896 (2010), which he alleges constitutes an intervening

change in the law relating to the “honest-services” theory of prosecution under 18 U.S.C. § 1341.

(Id.). The Government has opposed Petitioner‟s motion, arguing that the violation of 18 U.S.C.

§ 1341 to which Petitioner pled guilty was not based on an “honest-services” theory and was,

instead, based on Petitioner‟s use of false and fraudulent pretenses, representations, and promises

to defraud certain victims of money. (Docket No. 61). Petitioner‟s motion is now fully briefed

and ripe for disposition. (Docket Nos. 57, 61, 63, 65, 68). Upon consideration of the parties‟

submissions, and for the following reasons, Petitioner‟s Motion [57] is DENIED.

II.    BACKGROUND

       On February 6, 2008, a federal grand jury in the Western District of Pennsylvania

returned a three-count indictment against Petitioner, charging him with three counts of mail




                                                1
              Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 2 of 23




fraud, in violation of 18 U.S.C. § 1341.1 (Docket No. 1). In brief, the indictment alleged that

Petitioner knowingly devised a scheme to defraud Global Nursing Solutions, Inc. (“Global”) of

approximately $1 million by materially false or fraudulent pretenses, representations, or

promises. (Id. at 2). As part of this scheme, Petitioner, while working for Global pursuant to a

mutual services agreement, was accused of representing to Global that Nurses Network

International (“NNI”) had provided various services to Global, when, in fact, NNI had not. (Id.

at 3). Based on Petitioner‟s misrepresentations, it was alleged that Global paid money to NNI.

(Id.). Specifically, for each count of mail fraud, the indictment alleged that on a particular date,

Petitioner caused a check to be deposited with the commercial interstate carriers, Federal Express

and Worldwide Express, so that said check would be delivered to NNI based upon Petitioner‟s

false and fraudulent representations.2 (Id. at 4-5).


         1
             In relevant part, 18 U.S.C. § 1341 provides:

         Whoever, having devised or intending to devise any scheme or artifice to defraud, or for obtaining
         money or property by means of false or fraudulent pretenses, representations, or promises …
         deposits or causes to be deposited any matter or thing whatever to be sent or delivered by any
         private or commercial interstate carrier … shall be fined under this title or imprisoned not more
         than 20 years, or both.
         2
           As an illustration of Petitioner‟s deposits, the indictment contained a chart, which detailed the date, item,
carrier, and addressee for each alleged fraudulent mailing. (Docket No. 1 at 4-5). A replica of said chart is found
below.

 Count         Date                           Item                         Carrier         Addressee
 1             August 5, 2005                 Check #1232 for              Fed Ex          Ravi Pasupula
                                              $100,000                                     News (sic) Network
                                                                                           International
                                                                                           9423 Palm Bay Cir.
                                                                                           Raleigh, NC 27617

 2             October 28, 2005               Check #1373 for              Worldwide       Nurses Network
                                              $15,000                      Express         International
                                                                                           9423 Palm Bay Cir.
                                                                                           Raleigh, NC 27617
 3             December 8, 2005               Check #1458 for              Worldwide       Nurses Network
                                              $30,000                      Express         International
                                                                                           9423 Palm Bay Cir.
                                                                                           Raleigh, NC 27617


                                                                2
          Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 3 of 23




       Thereafter, on November 26, 2008, Petitioner pled guilty to Count One of the indictment,

pursuant to a written plea agreement with the Government. (Docket Nos. 42, 43, 46). At the

time of his plea, Petitioner was 39 years old and had attained a bachelor‟s degree in business

management. (Docket No. 46 at 3-4). He had no difficulty communicating with his attorney or

the Court. (Id. at 4). He averred that he was not under the influence of drugs or alcohol nor was

he under the care of a physician, therapist, psychologist or psychiatrist. (Id.). Petitioner stated

that he fully understood the proceedings; his counsel opined that Petitioner was competent to

plead; and the Court found that Petitioner was competent to meaningfully participate in the

proceeding based on his response to the Court‟s questions and his demeanor in the courtroom.

(Id. at 5). In this Court‟s estimation, Petitioner is a sophisticated individual, who clearly had the

mental capacity and ability to understand the nature and circumstances of the proceedings and

the consequences of his guilty plea.

       At the plea hearing, the Court examined Petitioner concerning the count to which he

intended to plead guilty:

       The Court: Now, [Petitioner], do you understand that you are charged at Count 1
       and may plead guilty to the crime of frauds and swindles commonly known as
       mail fraud in violation of Title 18, United States Code, Section 1341? Do you
       understand that, sir?

       Petitioner: Yes, Your Honor.

       The Court: And specifically, sir, do you understand that at Count 1 you are
       charged with knowingly devising a scheme to defraud or to obtain money,
       property, or the intangible right of honest services by materially false or
       fraudulent pretenses, representations or promises, and in attempting to do so
       deposited and caused to be deposited Check No. 1232 for $100,000 on August 5,
       2005, with the commercial interstate carrier Federal Express? Do you understand
       that, sir?

       Petitioner: Yes, Your Honor.




                                                 3
            Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 4 of 23




        The Court: Do you understand the nature of this charge, sir?

        Petitioner: Yes, Your Honor.

        The Court: Do you have any questions about the charge at this time?

        Petitioner: No, not at this time, Your Honor.

(Docket No. 46 at 6-7).           Later during the hearing, the Assistant United States Attorney

summarized the nature of the scheme and Petitioner‟s involvement as follows:

        The … final aspect of the scheme involved [Petitioner‟s] false representations to
        Global that a company in North Carolina known as NNI had provided services to
        Global when, in fact, NNI had not—or at least had not provided all the services
        that were represented by [Petitioner].

        Based on these representations, Global paid several hundred thousand dollars to
        NNI in North Carolina. After Global finally became suspicious regarding the
        payments to NNI, Global contacted NNI, at which point Global learned
        [Petitioner] owed money to NNI. The monies paid by Global was (sic) credited to
        [Petitioner] in connection with his own business.

        On August 5th of 2005, as a result of information submitted by [Petitioner] to
        Global regarding money being owed to NNI in North Carolina, Global sent the
        check described in Count 1 to NNI in North Carolina in the amount of $100,000.

(Id. at 30-31). After listening to said description, Petitioner stated his agreement with the

Government‟s summary and further stated that he had no additions or corrections to make. (Id.

at 31). Petitioner‟s counsel echoed this latter sentiment. (Id.).

        In his plea agreement, Petitioner “waive[d] the right to take a direct appeal from his

conviction or sentence” and “waive[d] the right to file a motion to vacate sentence, under 28

U.S.C. § 2255, attacking his conviction or sentence, and the right to file any other collateral

proceeding attacking his conviction or sentence.”3 (Docket No. 42 at 2-3). The agreement also




        3
           The waiver provision was subject to a limited set of exceptions under which Petitioner reserved his
appellate rights in certain, limited circumstances. (See Docket No. 42 at 2-3). None of these exceptions is relevant
to Petitioner‟s § 2255 motion.

                                                         4
             Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 5 of 23




contained a paragraph wherein Petitioner averred that he had read and discussed the plea

agreement with his attorney.4 (Id. at 4-5).

        During the plea hearing, Petitioner stated that he had read and understood the terms and

conditions of his plea agreement and that he agreed with all of the terms therein. (Docket No. 46

at 13-18). Petitioner also acknowledged his signature on the agreement‟s final page. (Id. at 14).

The Court then examined Petitioner concerning the waiver provisions contained in the plea

agreement:

        The Court: [Petitioner], do you understand that generally you or the Government
        would have the right to appeal any sentence that this Court could impose, but you
        have entered into a plea agreement under which you have waived some or all of
        your appeal rights, including the right to take a direct appeal under Title 28,
        United States Code, Section 1291 or Title 18, United States Code, Section 3742
        subject to the exceptions that were spelled out in the plea agreement? Do you
        understand that sir?

        Petitioner: Yes, Your Honor.

        The Court: Further, do you understand that pursuant to the plea agreement you
        have waived your right to file a motion to vacate sentence under Title 28, United
        States Code, Section 2255 and the right to file any other collateral proceeding?
        Do you understand that, sir?

        Petitioner: Yes, Your Honor.

        The Court: Accordingly … you have limited rights to an appeal, if any. Now,
        has your attorney reviewed with you … your appeal rights and what you may be
        waiving?

        Petitioner: Yes, Your Honor.

        The Court: So you do understand, then, that your appeal rights are limited.

        4
            Specifically, Petitioner and his counsel executed the plea agreement directly below the following passage:

        I have received this letter from my attorney, Anthony Bittner, Esquire, have read it and discussed
        it with him, and I hereby accept it and acknowledge that it fully sets forth my agreement with the
        Office of the United States Attorney for the Western District of Pennsylvania. I affirm that there
        have been no additional promises or representations made to me by any agents or officials of the
        United States in connection with this matter.

(Docket No. 42 at 4-5).

                                                           5
          Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 6 of 23




        Petitioner: Yes, Your Honor.

(Id. at 18-19). Ultimately, after an extensive colloquy, Petitioner admitted his guilt relative to

Count One and the Court accepted his guilty plea, finding that Petitioner was competent and that

his plea was voluntary. (Id. at 34).

        Prior to sentencing, the Court ordered the United States Probation Office to prepare a

presentence investigation report. (Docket No. 44). The report detailed Petitioner‟s offense

conduct, including the factual allegations which formed the basis of Count One of the

indictment. On March 5, 2009, Petitioner, through counsel, filed his “Objections/Position With

Respect to Presentence Investigation Report,” wherein he objected to the potential application of

certain sentencing guidelines and to the amount of restitution. (Id.). Petitioner did not, however,

object to the report‟s factual content. (Id.).

        At the sentencing hearing held on April 8, 2009, Petitioner, through his counsel, indicated

that he had no additions or clarifications as to the factual statements contained in either the

presentence investigation report or its addendum, which was received by the Court on March 24,

2009. (Docket No. 55 at 8-9). Petitioner was sentenced to 48 months imprisonment and three

years of supervised release. (Docket No. 54). Petitioner was also ordered to pay $1,342.293.00

in restitution and a $100.00 special assessment was imposed. (Id.). Petitioner did not file a

direct appeal.

        Petitioner filed the pending pro se motion to vacate, set aside, or correct sentence under

28 U.S.C. § 2255(a) on October 5, 2010. (Docket No. 57). Subsequently, the Court entered an

Order pursuant to United States v. Miller, 197 F.3d 644 (3d Cir. 1999), advising Petitioner that

all federal constitutional claims must be included in a single habeas corpus petition and of his

right to: (1) withdraw the pending petition and file one new, all-inclusive § 2255 petition setting

                                                 6
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 7 of 23




forth every ground which may entitle him to relief from the conviction and sentence, provided

that such motion is filed within the one-year statute of limitations; (2) amend the § 2255 petition

presently on file with any additional claims or materials within 120 days; or (3) choose to have

the petition ruled on as filed.    (Docket No. 58 at 1-2).       In addition, given its apparent

untimeliness, the Court, as part of its Order, issued upon Petitioner a rule to show cause why his

motion should not be dismissed as time-barred under § 2255(f). (Id. at 3).

       Petitioner filed a response to the Court‟s October 6, 2010 Order with the Clerk of Court

on October 25, 2010, asserting that he wished to proceed with his motion to vacate, as previously

filed. (Docket No. 59 at 1). Included in said filing, Petitioner also responded to the Court‟s rule

to show cause, stating that the Court should not deny Petitioner‟s motion as time-barred because

an “intervening change in the law is … the grounds for [Petitioner‟s] request for relief,” which

makes his motion timely pursuant to § 2255(f)(3). (Id. at 5).

       On October 26, 2010, the Court ordered the Government to file its response to

Petitioner‟s motion, (Docket No. 60), and said response was filed on November 16, 2010,

(Docket No. 61). Thereafter, on December 15, 2010, the Court received a letter from Petitioner,

indicating that he had not received a copy of the Government‟s response, which the Court then

forwarded, via email, to the Assistant United States Attorney. That same day, the Assistant

United States Attorney responded to the Court‟s email, stating that he had sent a copy of the

Government‟s response to the Petitioner that day.        Subsequently, on December 30, 2010,

Petitioner filed a “Response to Government‟s Response to Petitioner‟s Motion to Vacate, Set

Aside, or Correct Sentence,” (Docket No. 63), which the Court treated as a reply to the

Government‟s response, (Docket No. 64). The Court then ordered the Government to file a sur-

reply, (Id.), and said filing was made on January 28, 2011, (Docket No. 68). No further briefing



                                                7
            Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 8 of 23




has been received by the Court nor requested by the parties. Accordingly, this matter is ripe for

review.

III.      LEGAL STANDARD

          Petitioner filed the instant motion challenging his sentence under 28 U.S.C. § 2255(a),

which provides that:

          A prisoner in custody under sentence of a court established by Act of Congress
          claiming the right to be released upon the ground that the sentence was imposed
          in violation of the Constitution or laws of the United States, or that the court was
          without jurisdiction to impose such sentence, or that the sentence was in excess of
          the maximum authorized by law, or is otherwise subject to collateral attack, may
          move the court which imposed the sentence to vacate, set aside or correct the
          sentence.

28 U.S.C. § 2255. Thus, a criminal defendant “is entitled to relief only if he can demonstrate

that he is in custody in violation of federal law or the Constitution.” Jackson v. United States,

Civ. No. 07-1525, 2008 U.S. Dist. LEXIS 105048, at *27 (W.D. Pa. Dec. 30, 2008).

          In order for a district court to correct a criminal defendant‟s sentence pursuant to a § 2255

motion to vacate, it must find “that … judgment was rendered without jurisdiction, or that the

sentence imposed was not authorized by law or otherwise open to collateral attack, or that there

has been such a denial or infringement of the constitutional rights of the [defendant] as to render

the judgment vulnerable to collateral attack.” Garcia v. United States, Civ. No. 97-2861, 2008

U.S. Dist. LEXIS 29298, at *5 (D.N.J. Apr. 9, 2008) (internal quotation and citation omitted). A

criminal defendant bears the burden of establishing his entitlement to § 2255 relief. United

States v. Davies, 394 F.3d 182, 189 (3d Cir. 2005). Moreover, as a § 2255 motion to vacate is a

collateral attack on a sentence, a criminal defendant “must clear a significantly higher hurdle

than would exist on direct appeal” to obtain relief. See United States v. Bohn, Crim. No. 92-61,




                                                   8
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 9 of 23




1999 U.S. Dist. LEXIS 18522, at *7 (E.D. Pa. Nov. 9, 1999) (quoting United States v. Frady,

456 U.S. 152, 166 (1982)). The defendant must also act in a timely fashion.

       The Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No. 104-132, 110

Stat. 1214, imposed a one-year statute of limitations period on a federal prisoner‟s collateral

attack on his federal sentence. Johnson v. United States, 544 U.S. 295, 299 (2005). The

applicable statute of limitations is embodied in 28 U.S.C. § 2255(f), which provides:

       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of—

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
                   governmental action in violation of the Constitution or laws of the
                   United States is removed, if the movant was prevented from making a
                   motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by the
                   Supreme Court, if that right has been newly recognized by the
                   Supreme Court and made retroactively applicable to cases on collateral
                   review; or

               (4) the date on which the facts supporting the claim or claims presented
                   could have been discovered through the exercise of due diligence.

The period of time for filing a habeas corpus petition under § 2255 begins to run when the

judgment becomes “final.” 28 U.S.C. § 2255(f)(1). A conviction becomes final when no further

appeal can be taken. See Kapral v. United States, 166 F.3d 565, 570 (3d Cir. 1999).

       Generally, a district court must order an evidentiary hearing in a federal habeas case if a

prisoner‟s § 2255 allegations raise an issue of material fact. United States v. Biberfield, 957 F.2d

98, 102 (3d Cir. 1992). But, if there is “no legally cognizable claim or the factual matters raised

by the motion may be susceptible of resolution through the district judge‟s review of the motion

and records in the case,” the motion may be decided without a hearing.            United States v.



                                                 9
            Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 10 of 23




Costanzo, 625 F.2d 465, 470 (3d Cir. 1980). If a hearing is not held, the district judge must

accept the criminal defendant‟s allegations as true “unless they are clearly frivolous on the basis

of the existing record.” Gov’t of Virgin Islands v. Forte, 865 F.2d 59, 62 (3d Cir. 1989); see also

Rules Governing § 2255 Proceedings, Rules 4 and 8. Here, upon consideration of Petitioner‟s

motion for relief, the parties‟ subsequent submissions, and the pleadings and documents of

record, the Court concludes that no hearing is necessary.5 (See Docket No. 67).

IV.     DISCUSSION

        In his motion, Petitioner asserts that his sentence should be vacated based on the Supreme

Court‟s decision in Skilling v. United States, 130 S.Ct. 2896, which he alleges constitutes an

intervening change in the law applicable to his conviction. (See Docket No. 57). However, two

threshold procedural issues must be addressed before the Court considers the merits of his claim,

i.e., waiver and timeliness. For the reasons set forth below, the Court finds that Petitioner‟s

claim is both waived and time-barred, and Petitioner‟s reliance on Skilling is unwarranted given

the facts of this case.

        a.       Waiver

        It is well-settled that “[c]riminal defendants may waive both constitutional and statutory

rights provided they do so voluntarily and with knowledge of the nature and consequences of the

waiver.” United States v. Mabry, 536 F.3d 231, 236 (3d Cir. 2008). A criminal defendant may

effectively waive the right to file a motion to vacate, set aside or correct sentence under 28

U.S.C. § 2255 in a plea agreement with the Government. Id. at 241; see also United States v.

Khattak, 273 F.3d 557, 561 (3d Cir. 2001) (“The ability to waive statutory rights … logically

        5
           On January 13, 2011, the Court received a letter from Petitioner, (Docket No. 65), which the Court
construed as a motion requesting a hearing on Petitioner‟s motion to vacate, (Docket No. 67). The Court denied said
motion on January 18, 2011, (Id.), determining that an evidentiary hearing was not required because Petitioner‟s
motion shall be determined as a matter of law.


                                                        10
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 11 of 23




flows from the ability to waive constitutional rights.”). The determination of whether the waiver

is effective is a threshold issue and, if the waiver is effective, a criminal defendant is

jurisdictionally barred from pursuing the habeas petition. Mabry, 536 F.3d at 242. A district

court must determine the validity of the waiver by “specifically examining the (1) knowing and

voluntary nature, based on what occurred and what defendant contends, and (2) whether

enforcement would work a miscarriage of justice.” Id. at 237. A criminal defendant has the

initial “burden of presenting an argument that would render his waiver unknowing or

involuntary,” but the district court “has an affirmative duty both to examine the knowing and

voluntary nature of the waiver and to assure itself that its enforcement works no miscarriage of

justice, based on the record evidence before it.” Id. at 237-38 (citing Khattak, 273 F.3d at 563).

               1.      Knowing and Voluntary Nature of the Waiver

       At the outset, the Court notes that Petitioner does not present any argument challenging

the knowing and voluntary nature of the waiver.          Nevertheless, the Court highlights the

following facts of record, which, in its estimation, demonstrate that Petitioner‟s waiver was both

knowing and voluntary.

       As previously stated, Petitioner pled guilty to Count One of the indictment pursuant to a

written plea agreement with the Government. (See Docket No. 42). The language of the plea

agreement is clear and unequivocal. It provides, in pertinent part, that “Anthony J. Aliucci …

waives the right to file a motion to vacate sentence, under 28 U.S.C. § 2255, attacking his

conviction or sentence, and the right to file any other collateral proceeding attacking his

conviction or sentence.” (Id. at 3). Petitioner and his counsel executed the plea agreement,

thereby acknowledging that Petitioner had read the document, discussed it with his attorney, and




                                                11
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 12 of 23




accepted its terms. (Id. at 4-5). The Court finds the terms of the plea agreement to be sufficient

and clear to the waiver of collateral attack rights.

       Beyond the terms of the plea agreement, the Court conducted a plea hearing on

November 26, 2008, during which it engaged Petitioner in an extensive colloquy. (See Docket

Nos. 41, 46). After being placed under oath, Petitioner initially stated that he was 39 years old

and had attained a bachelor‟s degree in business management.            (Docket No. 46 at 3-4).

Petitioner then stated that he was not under the influence of any drugs, medication or alcohol;

was not under the care of a physician, therapist, psychologist or psychiatrist; and had not recently

been hospitalized or treated for either alcohol or narcotic addiction. (Id. at 4-5). Accordingly,

the Court determined that Petitioner was competent to plead. (Id. at 5).

       In response to further questioning, Petitioner answered affirmatively that he had ample

opportunity to discuss his case with his attorney and that he was satisfied with the job his

attorney had done for him. (Id.). On this point, Petitioner confirmed that his counsel had

discussed all the charges against him and that he understood them. (Id. 5-6). He had no

questions about the charges for either the Court or his counsel. (Id. at 6-8). The Court then

explained to Petitioner what his rights would be if he went to trial. (Id. at 8-12). All of the

charges were read to Petitioner, (Id. at 6-8), and the Court explained what the Government would

have to prove at trial with respect to each charge, (Id. at 9-12). The Court also explained the

statutory penalties to which Petitioner would be subject, as well as the Court‟s obligation to

consider the advisory sentencing guidelines range in imposing a sentence, (Id. at 21-24, 27).

       Next, the Court directly questioned Petitioner regarding the plea agreement, including

whether he had: read the plea agreement, understood its contents, reviewed it with his counsel,

asked his counsel any questions about the agreement and if counsel had answered any such



                                                  12
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 13 of 23




questions, and affixed his signature to the final page. (Id. at 13-14). Petitioner answered

affirmatively to all of the Court‟s questions. (Id.). The Assistant United States Attorney then

reviewed the material terms of the plea agreement on the record, specifically stating that

Petitioner agreed to waive his right to file a motion to vacate sentence under 28 U.S.C. § 2255

and his right to take a direct appeal, subject to limited exceptions. (Id. at 14-18). Upon further

questioning by the Court, Petitioner asserted that he agreed with the terms of the plea agreement,

as stated. (Id. at 18).

        At the Court‟s request, the Assistant United States Attorney set forth the elements of the

offense charged at Count One of the indictment and the factual basis supporting Petitioner‟s plea

of guilty to that count. (Id. at 27-31). Petitioner responded affirmatively when questioned if he

agreed with the presented description of his criminal conduct and asserted that he still intended

to plead guilty to Count One. (Id. at 31-32). Petitioner‟s counsel, Anthony M. Bittner, Esq.,

affirmed that the entry of a guilty plea by Petitioner was consistent with his advice. (Id. at 32).

In addition, Petitioner stated that he was not forced to plead guilty and that no one had made a

promise that induced him to plead guilty. (Id. at 32-33). Although he acknowledged that he had

discussed the potential application of the sentencing guidelines in his case with counsel, (Id. at

25), Petitioner asserted that no one had made any kind of a prediction or promise regarding what

his actual sentence may be, (Id. at 33). Petitioner explicitly stated that he fully understood

everything that was discussed during the plea hearing and that he did not have any physical or

mental illness which affected his ability to understand his rights or affected the voluntary nature

of his plea. (Id.). Petitioner also stated that he was satisfied in all respects with the advice and

representation of Mr. Bittner. (Id. at 34). After again being informed of the charge at Count

One, Petitioner changed his plea to guilty, he and Mr. Bittner executed the change of plea form,



                                                13
             Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 14 of 23




(see Docket No. 43), and the Court accepted Petitioner‟s guilty plea, specifically finding that his

plea was knowingly and voluntarily made. (Docket No. 46 at 34-35).

         In this case, consistent with the United States Court of Appeals for the Third Circuit‟s

decision in United States v. Corso, 549 F.3d 921 (3d Cir. 2008), the Court specifically informed

Petitioner of the waiver of the right to collaterally attack his sentence. 6 (Docket No. 46 at 19).

In fact, as previously noted, the Court explicitly asked Petitioner if he understood the appeal

rights that he was waiving and further inquired if he reviewed said waiver with his attorney prior

to doing so. (Id.). Petitioner answered both questions in the affirmative. (Id.).

         Thus, in light of this record, the Court finds that Petitioner knowingly and voluntarily

waived his right to collaterally attack his sentence by filing a motion to vacate under 28 U.S.C. §

2255.

                  2.       Miscarriage of Justice

         The Court also has an affirmative duty to consider “whether enforcement [of the waiver]

would work a miscarriage of justice” based on the underlying facts. Mabry, 536 F.3d at 237. In

so doing, the Court must apply “a common sense approach in determining whether a miscarriage

of justice would occur if the waiver were enforced,” Id. at 242, and consider “„the clarity of the

error, its gravity, its character (e.g., whether it concerns a fact issue, a sentencing guideline, or a

statutory maximum), the impact of the error on the defendant, the impact of correcting the error

on the government, and the extent to which the defendant acquiesced in the result,‟” Id. at 242-

43 (quoting United States v. Teeter, 257 F.3d 14, 25-26 (1st Cir. 2001)). The United States

Court of Appeals for the Third Circuit, however, has declined to identify a list of specific



         6
            Specifically, in Corso, the Court of Appeals held that under Federal Rule of Criminal Procedure
11(b)(1)(N), a district court, and not the Government, is required to inform a defendant that he is waving the right to
collaterally attack his sentence. 549 F.3d at 929.

                                                          14
              Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 15 of 23




circumstances which would give rise to, or constitute, a miscarriage of justice. Mabry, 536 F.3d

at 243.

          Although not presented as a distinct challenge to the validity of the waiver, Petitioner

does argue that the Supreme Court‟s decision in Skilling makes his continued confinement a

“complete miscarriage of justice.” (Docket No. 57 at 11). In Skilling, the United States Supreme

Court addressed the scope of 18 U.S.C. § 1346 in response to the argument that the honest-

services statute, § 1346, was unconstitutionally vague because it did not adequately define the

phrase “intangible right of honest services.”7 Id. at 2928. Rather than strike down the statute

entirely, the Court limited the application of § 1346 to cover only bribery and kickback schemes.

Id. at 2931. In so holding, the Court rejected the argument that “undisclosed self-dealing” by a

public official or private employee, i.e., the taking of official action by the employee that furthers

his own undisclosed financial interests while purporting to act in the interests of those to whom

he owes a fiduciary duty, constituted a crime under the statute. Id. at 2932-33. As part of its

determination, the Court contrasted the difference between conventional fraud and “honest-

services” fraud as follows:

          Unlike fraud in which the victim‟s loss of money or property supplied the
          defendant‟s gain, with one the mirror image of the other, the honest-services
          theory targeted corruption that lacked similar symmetry. While the offender
          profited, the betrayed party suffered no deprivation of money or property; instead,
          a third party, who has not been deceived, provided the enrichment. For example,
          if a city mayor (the offender) accepted a bribe from a third party in exchange for
          awarding that party a city contract, yet the contract terms were the same as any
          that could have been negotiated at arm‟s length, the city (the betrayed party)
          would suffer no tangible loss. Even if the scheme occasioned a money or
          property gain for the betrayed party, courts reasoned, actionable harm lay in the
          denial of that party‟s right to the offender‟s “honest services.”




          7
           18 U.S.C. § 1346 provides that “[f]or purposes of this chapter, the term „scheme or artifice to defraud‟
includes a scheme or artifice to deprive another of the intangible right of honest services.”

                                                        15
             Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 16 of 23




Id. at 2926 (internal citations omitted).             Ultimately, in Skilling, the Court concluded the

defendant‟s financial self-dealing did not constitute honest-services fraud because it did not

entail a bribery or a kickback scheme. Id. at 2934.

         Petitioner also argues that his case is substantially similar to that addressed by the

Supreme Court in Black v. United States, 130 S.Ct. 2963 (2010). In Black, the Government

indicted the defendants on multiple counts, including three counts of mail fraud in violation of

§§ 1341 and 1346. Id. at 2967. At trial, the Government pursued alternative theories: (1)

money-or-property fraud, and (2) honest-services fraud.8 Id. at 2966. Thereafter, the district

court instructed the jury, discretely, on the theft-of-money-or-property and honest-services

deprivation theories advanced by the Government. Id. at 2967. As to the latter, the district court

informed the jury, over the defendants‟ objection, that a person commits honest-services fraud if

he “misuse[s] his position for private gain for himself and/or a co-schemer” and “knowingly and

intentionally breache[s] his duty of loyalty.” Id. Ultimately, the jury returned general verdicts of

guilty on the three mail fraud counts. Id.

         Along with Skilling, the Court granted certiorari in Black to determine what conduct

Congress rendered criminal by proscribing, in § 1346, fraudulent deprivation of “the intangible

right of honest services.” Id. at 2968. Based upon its holding in Skilling, the Court found that

the honest-services instructions given in Black were incorrect, as the alleged scheme to defraud

did not involve any bribes or kickbacks. Id. at 2968 n.7. Notably, however, the Court expressed

no opinion as to whether the error was ultimately harmless, but left that matter for consideration

on remand. Id. at 2970.



         8
           Specifically, the Government charged that (1) the defendants stole millions of dollars from their employer
by fraudulently paying themselves bogus “noncompetition fees” and that (2) by failing to disclose their receipt of
those fees, the defendants deprived their employer of their honest services as managers of the company. Id. at 2967.

                                                         16
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 17 of 23




        Within this framework, Petitioner attempts to establish that his conviction under § 1341

was predicated on a scheme to defraud his employer of honest-services, as compared to money

or property, believing that if he does so, his conviction will be vacated under Skilling and Black

because he received no kickbacks or bribes. To accomplish this task, Petitioner begins by

alleging that he provided a service to his employer. (Docket No. 57 at 2). Specifically,

Petitioner states:

        The charge was based on the facts [sic] that [Petitioner] was a senior executive
        who abused his position to scheme or … defraud his employer of their [sic]
        intangible right of honest services, since [Petitioner] provided … services … to
        his employer and breached his fiduciary duty of honesty and loyalty involving a
        violation of the duty to disclose, for purpose [sic] of the honest fraud definition
        under [§ 1341].

(Id. at 6).   Petitioner then argues that this conclusion is supported by the fact that the

Government sought a two level adjustment at the time of sentencing under Guideline § 3B1.3 for

“abuse of position of trust.” (Id. at 7). In this regard, Petitioner states, due to the Government‟s

application of the two level enhancement to Petitioner‟s sentencing calculations, it is “obvious

that the Government was claiming that [Petitioner] abused his fiduciary responsibilities to the

victim.” (Id. at 8). Petitioner concludes his argument by contending that the Government‟s

allegations in Count One of the indictment that Petitioner “falsely represented to the victim that

there were legitimate business expenses” and that “the victim discovered the [Petitioner‟s]

scheme” further establishes that the Government‟s charges were based on the definition of

“honest-services.” (Id. at 8).

        In this Court‟s estimation, neither Skilling nor Black has any application here. Although

Petitioner might wish it were otherwise, he was not charged with, nor did he plead guilty to,

honest-services fraud under § 1346. See Skilling, 130 S.Ct. at 2928. Moreover, in this case, the

Government did not advance alternative theories of money-or-property fraud or honest-services

                                                17
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 18 of 23




fraud. See Black, 130 S.Ct. at 2966. Instead, the indictment, which enumerated the acts

attributable to Petitioner, as well as the Court‟s questioning, the Assistant United States

Attorney‟s description of the scheme, and the presentence investigation report‟s offense conduct

section, make it clear that Petitioner‟s conduct represented conventional “mirror image” mail

fraud pursuant to § 1341. See Skilling, 130 S.Ct. at 2926. He intentionally misrepresented to

Global that NNI had provided services to Global and thereby fraudulently induced Global to

send money that it would not otherwise have sent. (See Docket Nos. 1, 46). This money was

credited to Petitioner in connection with his own business. (Id.). Hence, this is precisely the

type of fraud where “the victim‟s loss of money or property supplied the defendant‟s gain.”

Skilling, 130 S.Ct. at 2926.

       In addition, the Court does not find the arguments advanced by Petitioner to establish that

his conviction was predicated on a scheme to defraud his employer of honest-services, as

compared to money or property, persuasive. Initially, the allegation that Petitioner provided a

service to his employer does not change the fact that he knowingly defrauded Global out of more

than $100,000.00. Similarly, the allegations in Count One of the indictment that Petitioner

“represented to Global that [NNI] had provided various services to Global, when in truth and

fact, and as [Petitioner] well knew, such representations were false and fraudulent” is consistent

with the elements of the offense of money fraud pursuant to § 1341. Finally, the Court disagrees

with Petitioner‟s apparent argument that, in cases brought pursuant to § 1341, a two level

adjustment under Guideline § 3B1.3 is only appropriate in prosecutions for “honest-services”

fraud. Instead, as recognized in the Court‟s Tentative Findings and Rulings, Guideline § 3B1.3

provides a two level increase if the defendant abused a position of public or private trust in a

manner that significantly facilitated the commission or concealment of the offense. (Docket No.



                                               18
             Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 19 of 23




51 at 5). Applying the two-step inquiry provided by the United States Court of Appeals for the

Third Circuit in United States v. Hart, 273 F.3d 363, 375-76 (3d Cir. 2001), this Court concluded

that this enhancement was correctly applied, comparing Petitioner‟s offense to a bank

executive‟s embezzlement of bank funds, (Id. at 5-6), which could be described as money fraud.9

         Significantly, consistent with the Court‟s decision, several courts have already concluded

that Skilling does not apply to charges of traditional fraud pursuant to the mail and wire fraud

statutes. See, e.g., Conti, 2010 U.S. Dist. LEXIS 118111, at *14. In United States v. Conti, the

defendant, similarly to Petitioner, argued that his convictions under 18 U.S.C. §§ 371 and 1341

should be vacated based on the Supreme Court‟s decision in Skilling because the defendant

received no kickbacks or bribes. Id. at *12. The district court rejected this argument and found

that the “„honest services‟ provision of the mail fraud statute addressed by the Supreme Court in

Skilling „played no role‟ in [the defendant‟s] indictment and guilty plea.” The Court holds the

same here today.

         Given Skilling’s and Black’s inapplicability, Petitioner has failed to demonstrate a

“miscarriage of justice.” See Id. at *15. Instead, the Court finds that “enforcing the waiver is in

line with justice, not a miscarriage of it,” and the Court will not exercise jurisdiction over

Petitioner‟s claims as he knowingly and voluntarily waived his right to file the instant motion.

Mabry, 536 F.3d at 244. As a result, the Court enforces the terms of the plea agreement and

Petitioner‟s motion must be dismissed.

         b.       Statute of Limitations



         9
           In Hart, the Third Circuit held that the two level enhancement under Guideline § 3B1.3 applies to
positions where the defendant has control over transactions essential to the crime and where the victims of the crime
relied upon the defendant‟s integrity associated with his or her position of trust. 273 F.3d at 375-76. A court must
apply the fact intensive two-step inquiry of (1) whether the defendant occupied a position of trust and (2) whether he
used that position in a way that significantly facilitated the crime. Id.

                                                         19
             Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 20 of 23




        Even if Petitioner had not waived his right to file a collateral proceeding attacking his

conviction or sentence, see Sec. IV(a), supra, Petitioner‟s motion must be denied because it was

not timely filed.

        In the instant case, Petitioner did not file a direct appeal. Therefore, his conviction

became final ten days after his judgment of conviction when the deadline for filing an appeal

expired.10 Fed. R. App. P. 4(b)(1)(A); see also Kapral, 166 F.3d at 577 (“If a defendant does not

pursue a timely direct appeal to the court of appeals, his or her conviction and sentence become

final, and the statute of limitation begins to run, on the date on which the time for filing such an

appeal expired.”); see also Evans v. United States, Civ. No. 05-496, 2006 U.S. Dist. LEXIS

21391, at *7 (W.D. Pa. Apr. 20, 2006) (“Because petitioner did not directly appeal his judgment

of conviction to the court of appeals, his judgment of conviction became final when the time for

filing a notice of appeal expired—i.e., ten days after his judgment of conviction.”).                   The

judgment of conviction was entered on April 8, 2009, (Docket No. 54), and became final on

April 22, 2009 after the deadline for filing a notice of appeal expired, Fed. R. App. P. 4(b)(1),

26(a). Petitioner filed the instant motion to vacate on October 5, 2010, over 17 months later.

(Docket No. 57). Petitioner‟s motion, therefore, is not timely unless petitioner can establish

either that the limitations period should run from one of the other dates set forth in the statute,

see 28 U.S.C. § 2255(f), or that he is entitled to equitable tolling of the one-year limitations

period, see United States v. Bass, 268 F. App‟x 196, 199 (3d Cir. 2008).

        Petitioner‟s contention that his motion is timely rests entirely on his belief that the

Supreme Court‟s decision in Skilling, 130 S.Ct. 2896, constituted an intervening change in the

law. (Docket No. 59 at 5). However, as previously explained, this Court has concluded that

        10
            Effective December 1, 2009, the time period prescribed in Federal Rule of Appellate Procedure
4(b)(1)(A) was changed from ten days to fourteen days. The revised rule does not apply in this case, however,
because the judgment was entered prior to the effective date of the amendment.

                                                     20
         Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 21 of 23




Skilling has no applicability to this case. See Sec. IV(a)(2), supra. Thus, Petitioner‟s reliance on

§ 2255(f)(3) is misplaced.

        Beyond the statutory provisions of § 2255, Petitioner‟s motion may still be considered

timely if he can establish that an equitable tolling of the limitations period is warranted. United

States v. Washington, Crim. No. 89-152, 2010 U.S. Dist. LEXIS 73797, at *6-7 (W.D. Pa. July

22, 2010) (“[T]he one-year limitation period for filing Section 2255 petitions is a statute of

limitations, and therefore is subject to equitable tolling.”) (quoting Holland v. Florida, 130 S.Ct.

2549 (2010)). The doctrine of equitable tolling may toll the statute of limitations under §

2255(f), but it may be invoked “„only sparingly.‟” Bass, 268 F. App‟x at 199 (quoting United

States v. Midgley, 142 F.3d 174, 179 (3d Cir. 1998)). In order to toll the statute of limitations,

Petitioner must demonstrate “(1) that he has been pursuing his rights diligently, and (2) that some

extraordinary circumstance stood in the way.” Bass, 268 F. App‟x at 199 (quoting Pace v.

Diguglielmo, 544 U.S. 408, 415 (2005)). Here, Petitioner has not argued that the statute of

limitations should be equitably tolled and, in this Court‟s estimation, there is no evidence

supporting same. Indeed, as stated by another court, within this context “[a] change in the law

does not constitute an extraordinary circumstance.” Wright v. United States, Civ. No. 09-1066,

2010 U.S. Dist. LEXIS 4455, at *8 (M.D. Fla. Jan. 5, 2010). Therefore, given the Court‟s

finding that § 2255(f) is not applicable, accompanied by the determination that Petitioner is not

entitled to equitable tolling of the one-year limitations period, Petitioner‟s motion must also be

dismissed as time-barred.

V.      CERTIFICATE OF APPEALABILITY

        When a district court issues a final order denying a 28 U.S.C. § 2255 petition, the court

must also make a determination as to whether a certificate of appealability (“COA”) should issue



                                                21
          Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 22 of 23




or the clerk of the court of appeals shall remand the case to the district court for a prompt

determination as to whether a certificate should issue. See 3d Cir. L. App. R. 22.2. “When the

district court denies a habeas petition on procedural grounds without reaching the prisoner‟s

underlying constitutional claim, a COA should issue (and an appeal of the district court‟s order

may be taken) if the prisoner shows, at least, that jurists of reason would find it debatable whether

the petition states a valid claim of the denial of a constitutional right, and that jurists of reason

would find it debatable whether the district court was correct in its procedural ruling.” Slack v.

McDaniel, 529 U.S. 473, 478 (2000).

        This Court concludes that Petitioner‟s motion should be denied as a matter of law

because Petitioner has waived his right to file a § 2255 motion and because his motion was not

timely filed. The Court is persuaded that reasonable jurists would not debate these procedural

rulings. Moreover, even absent these procedural defects, as the Supreme Court‟s decision in

Skilling is not applicable to Petitioner‟s conviction given it was not based on an “honest-services”

theory of prosecution, the Court is further persuaded that Petitioner has not shown a substantial

denial of a constitutional right. Thus, the Court declines to issue a COA.

VI.     CONCLUSION

        Based on the foregoing, Petitioner‟s Motion to Vacate, Set Aside or Correct Sentence

under 28 U.S.C. § 2255 [57] is DENIED. An appropriate Order follows.

                                                      s/Nora Barry Fischer
                                                      Nora Barry Fischer
                                                      United States District Judge

Date: February 11, 2011

cc/ecf: Shaun E. Sweeney, AUSA




                                                 22
 Case 2:10-cv-01297-NBF Document 2 Filed 02/11/11 Page 23 of 23




Anthony J. Aliucci
09766-068
FCI Morgantown
Post Office Box 1000
Morgantown, WV 26507-1000




                               23
